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                                                                                                                                          UNITED STATES DISTRICT COURT
                                                                                                                                      IN THE EASTERN DISTRICT OF MICHIGAN

                                                                                                                       GREAT LAKES TRANSPORTATION
                                                                                                                       HOLDING LLC, d/b/a METRO
                                                                                                                       CARS,
                                                                                                                                                                Case No.:
                                                                                                                                   Plaintiff,

                                                                                                                       vs.
DYKEMA GOSSETTA PROFESSIONAL LIMITED LIABILITY COMPANY2723 SOUTH STATE STREET, SUITE 400ANN ARBOR, MICHIGAN 48104




                                                                                                                       AAA METRO LIMO, LLC and AQIL
                                                                                                                       ALTALAQANY,

                                                                                                                                   Defendants.

                                                                                                                       Paul Stewart (P79977)
                                                                                                                       DYKEMA GOSSETT PLLC
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                                                                                                                       Attorneys for Plaintiff Great Lakes
                                                                                                                        Transportation Holding LLC


                                                                                                                                     COMPLAINT AND DEMAND FOR JURY TRIAL

                                                                                                                             Plaintiff Great Lakes Transportation Holding LLC, by its attorneys Dykema

                                                                                                                       Gossett PLLC, states as follows for its Complaint against Defendants AAA Metro
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                                                                                                                       Limo, LLC (“AAA”) and Aqil Altalaqany:

                                                                                                                                                    NATURE OF ACTION

                                                                                                                             1.    Defendants provide chauffeur/limousine and other transportation

                                                                                                                       services (“Defendant Services”) and use the website www.aaametrolimo.com

                                                                                                                       (“Defendant’s Website”) to advertise and sell their services. Defendants advertise
DYKEMA GOSSETTA PROFESSIONAL LIMITED LIABILITY COMPANY2723 SOUTH STATE STREET, SUITE 400ANN ARBOR, MICHIGAN 48104




                                                                                                                       and sell their services on Defendant’s Website using the identical and highly

                                                                                                                       similar trademarks to Plaintiff’s federally registered METRO CARS, using both

                                                                                                                       plural and singular versions of the mark for identical services.       Defendant’s

                                                                                                                       Website uses the registered METRO CAR trademark prominently in bold on its

                                                                                                                       home page and other advertising, as well as using both METRO CAR and METRO

                                                                                                                       CARS in the metatags to divert those searching for the well-known METRO

                                                                                                                       CARS mark. Plaintiff has been compelled to bring this action for federal and state

                                                                                                                       trademark infringement and unfair competition because Plaintiff has priority of use

                                                                                                                       of the longstanding METRO CARS trademark, and because of the likelihood of

                                                                                                                       confusion in the relevant market between Plaintiff’s’ METRO CARS trademark

                                                                                                                       and Defendants’ use of AAA METRO CAR and AAA METRO CARS’, and

                                                                                                                       variants thereof (collectively, “Defendant Marks”). Plaintiff has repeatedly alerted

                                                                                                                       Defendants to this concern and Plaintiff’s rights in the METRO CARS trademark

                                                                                                                       in 2023, with Defendants modifying its use on the website www.aaametrocars.net

                                                                                                                       after Plaintiff’s objections. Despite such prior notice, Defendants registered the



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                                                                                                                       domain name www.aaametrolimo.com, began using the Defendant Marks again on

                                                                                                                       the new domain, and continue to offer and provide identical services under the

                                                                                                                       METRO CAR(S) name in competing and overlapping trade channels to at least

                                                                                                                       some of the same customers and have advertised in at least some of the same

                                                                                                                       media, thereby willfully infringing Plaintiff’s rights in the METRO CARS
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                                                                                                                       trademark with potential harm to Plaintiff’s reputation, Plaintiff’s customers, and

                                                                                                                       Plaintiff’s services.

                                                                                                                             2.     This is a civil action for: (i) trademark infringement arising under

                                                                                                                       Section 32(1) of the Lanham Act of 1946, as amended, 15 U.S.C. § 1051 et seq.,

                                                                                                                       including willful infringement; (ii) unfair competition, use of false designations of

                                                                                                                       origin in commerce, and false advertisement, arising under Section 43(a) of the

                                                                                                                       Lanham Act of 1946, as amended, 15 U.S.C. § 1125(a); (iii) trademark dilution,

                                                                                                                       arising under Section 43(a) of the Lanham Act of 1946, as amended, 15 U.S.C. §

                                                                                                                       1125(c); (iv) violation of the Michigan Deceptive Trade Practices Act under Mich.

                                                                                                                       Comp. Stat. § 445.901 et seq.; (v) common law unfair competition under the

                                                                                                                       common law of the State of Michigan; and (vi) unjust enrichment under the

                                                                                                                       common law of the State of Michigan.

                                                                                                                                                        THE PARTIES

                                                                                                                             3.     Plaintiff Great Lakes Transportation Holding Company, LLC d/b/a

                                                                                                                       Metro Cars, (“Metro Cars” or “Plaintiff”), is a Michigan corporation with its



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                                                                                                                       principal place of business located at 24957 Brest Road, Taylor, Michigan, 48180.

                                                                                                                       For many years, Plaintiff Metro Cars has been engaged in and now is engaged in

                                                                                                                       the provision of luxury sedan chauffeuring and other transportation services (“the

                                                                                                                       “Services” or “Plaintiff Services”), and has used the METRO CARS trademark to

                                                                                                                       identify its services for over 30 years.
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                                                                                                                             4.     Upon information and belief, Defendant AAA is a Michigan limited

                                                                                                                       liability company with its principal place of business at 6381 Woodmont Ave,

                                                                                                                       Detroit, MI 48228.

                                                                                                                             5.     Upon information and belief, Defendant Aqil Altalaqany is the owner

                                                                                                                       and/or operator of AAA and resides at 6381 Woodmont Ave, Detroit, MI 48228.

                                                                                                                                                 JURISDICTION AND VENUE

                                                                                                                             6.     This is a suit for trademark infringement under Section 32 of the

                                                                                                                       Lanham Act, 15 U.S.C. § 1051 et seq.; unfair competition, false designation of

                                                                                                                       origin, and false advertising under Section 43(a)(1) of the Lanham Act; trademark

                                                                                                                       dilution under Section 43(c) of the Lanham Act; violation of the Michigan

                                                                                                                       Deceptive Trade Practices Act under Mich. Comp. Stat. § 445.901 et seq.; and for

                                                                                                                       common law unfair competition and unjust enrichment. This Court has subject

                                                                                                                       matter jurisdiction over this action pursuant to 15 U.S.C. § 1121, 28 U.S.C. §§1331

                                                                                                                       and 1338, and the doctrines of ancillary and pendent jurisdiction.




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                                                                                                                             7.     Defendant AAA has submitted to personal jurisdiction in this Court

                                                                                                                       because, inter alia, it is a Michigan limited liability company and has therefore

                                                                                                                       availed itself to the rights and benefits of the laws of Michigan. In addition, AAA

                                                                                                                       is transacting and doing business within this judicial district and is committing the

                                                                                                                       acts complained of herein within this judicial district.
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                                                                                                                             8.     This Court has personal jurisdiction over Defendant Aqil Altalaqany

                                                                                                                       because he resides and has committed acts of trademark infringement and unfair

                                                                                                                       competition in this judicial district.

                                                                                                                             9.     Venue is proper in this judicial district pursuant to 28 U.S.C. §§

                                                                                                                       1391(b) and (c).

                                                                                                                                                                FACTS

                                                                                                                             10.    Plaintiff Metro Cars is engaged in the business of providing luxury

                                                                                                                       sedan chauffeuring and other transportation services. Plaintiff has used the service

                                                                                                                       mark METRO CARS on or in connection with Plaintiff Services to distinguish

                                                                                                                       them from the services of others for over 30 years.

                                                                                                                             11.    Plaintiff is the exclusive owner of all right, title and interest in the

                                                                                                                       mark METRO CARS. Plaintiff is the owner of the following United States federal

                                                                                                                       trademark registrations (individually and collectively, “the “METRO CARS

                                                                                                                       Mark”):




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                                                                                                                       Mark/Reg. No.     Registration Services
                                                                                                                                         Date

                                                                                                                       METRO CARS        August 1,     Class: 39
                                                                                                                       Reg. No.:         1995
                                                                                                                       1,908,853                       chauffeured car for hire

                                                                                                                       METRO CARS        August 9,     Class: 35
                                                                                                                       and Design        2011
                                                                                                                                                       Transportation management services,
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                                                                                                                                                       namely, planning and coordinating
                                                                                                                                                       transportation of people for others


                                                                                                                                                       Class: 39
                                                                                                                       Reg. No. :                      Chauffeur services, namely, providing
                                                                                                                       4,009,524                       chauffeured automobiles, luxury
                                                                                                                                                       automobiles and limousines for hire; luxury
                                                                                                                                                       door-to-door ground transportation of
                                                                                                                                                       passengers for business or personal travel by
                                                                                                                                                       luxury automobile, limousine, executive
                                                                                                                                                       van, mini bus and motor coach; airport
                                                                                                                                                       ground transportation services; airport meet
                                                                                                                                                       and greet services, namely, meeting and
                                                                                                                                                       greeting passengers and directing them to a
                                                                                                                                                       specific means of transportation; providing
                                                                                                                                                       ground transportation to corporate
                                                                                                                                                       customers in the nature of passenger
                                                                                                                                                       shuttles; motor coach charter services; taxi
                                                                                                                                                       transport service; medically-related para-
                                                                                                                                                       transit ground transportation services

                                                                                                                       METRO CARS        July 10, 2007 Class: 39
                                                                                                                       FL (Stylized)
                                                                                                                                                       chauffeured car for hire


                                                                                                                       RN: 3,261,698



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                                                                                                                             12.   True and correct copies of Plaintiff’s registrations are attached hereto

                                                                                                                       as Exhibits A, B, and C (“Plaintiff’s Registrations”). In addition, copies of the

                                                                                                                       assignment abstracts corresponding to Plaintiff’s Registrations are attached hereto

                                                                                                                       as Exhibits D, E, and F. Plaintiff’s Registrations are in full force and effect, and
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                                                                                                                       are now incontestable.

                                                                                                                             13.   Plaintiff has devoted significant advertising resources and creative

                                                                                                                       energies towards creating goodwill in the METRO CARS Mark. The METRO

                                                                                                                       CARS Mark is distinctive, well known, and widely recognized by the consuming

                                                                                                                       public as a designation of source, and specifically as a designation of source of

                                                                                                                       Plaintiff Services. The METRO CARS Mark is a famous mark. The METRO

                                                                                                                       CARS Mark is federally registered and Plaintiff uses the federal registration

                                                                                                                       symbol for the METRO CARS Mark, as illustrated by the website page at Exhibit

                                                                                                                       G, and the METRO CARS Mark is entitled to constructive notice under 15 U.S.C.

                                                                                                                       § 1072.

                                                                                                                             14.   The METRO CARS trademark has been continuously used in

                                                                                                                       commerce since at least as early as 1991.        Plaintiff has devoted significant

                                                                                                                       marketing, advertising, and financial resources to developing and establishing in

                                                                                                                       the minds of consumers that the METRO CARS Mark signifies Plaintiff Services.




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                                                                                                                       As a result of these efforts, the METRO CARS Mark is widely recognized by the

                                                                                                                       consuming public as a designation of source for the Plaintiff Services.

                                                                                                                             15.    Plaintiff expends significant revenue and resources in advertising and

                                                                                                                       promoting its services using the METRO CARS Mark through various media, and

                                                                                                                       ensuring the METRO CARS Mark serves to identify the source of Plaintiff
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                                                                                                                       Services. Metro Cars has prominently displayed the METRO CARS Mark on the

                                                                                                                       internet and owns the rights in the domain name www.metrocars.com, and has

                                                                                                                       used the METRO CARS Mark in its advertising materials, on vehicles, on its

                                                                                                                       website and/or on other materials promoting Plaintiff Services.

                                                                                                                             16.    As a result of Plaintiff’s promotion and marketing efforts and the

                                                                                                                       quality of Plaintiff Services, the METRO CARS Mark is widely and favorably

                                                                                                                       known. The METRO CARS Mark has become a valuable asset of Plaintiff Metro

                                                                                                                       Cars and a symbol of its goodwill.

                                                                                                                             17.    Due to Plaintiff’s exclusive prior and continuous use, the METRO

                                                                                                                       CARS Mark has become the exclusive property of Plaintiff Metro Cars.

                                                                                                                       Furthermore, such use has caused the METRO CARS Mark to acquire a meaning

                                                                                                                       associated exclusively with Plaintiff’s Services and serves to distinguish its

                                                                                                                       services from the services of others.




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                                                                                                                                       Defendants’ Activities with their Prior Domain Name

                                                                                                                             18.     Upon information and belief, Defendant Aqil Altalaqany formed

                                                                                                                       Defendant AAA in 2014 and Defendants, thereafter, commenced engaging in the

                                                                                                                       business of providing chauffeur and other transportation services.

                                                                                                                             19.   On information and belief, Defendant AAA, at the direction of
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                                                                                                                       Defendant    Aqil   Altalaqany,   marketed    AAA’s     services     on   a   website,

                                                                                                                       www.aaametrocars.net. A copy of the website is attached as Exhibit H.

                                                                                                                             20.   On and around January 24, 2023, Plaintiff sent Defendant AAA a

                                                                                                                       cease and desist letter by email to aaametro@usa.com, attached here as Exhibit I.

                                                                                                                       Approximately two days after receipt of the January 24, 2023 letter, the improper

                                                                                                                       uses at www.aaametrocars.net were removed and the website was disabled.

                                                                                                                              Defendants’ Continuing Activities Resulting in, Inter Alia, Trademark
                                                                                                                                            Infringement and Unfair Competition


                                                                                                                             21.   Thereafter, Plaintiff became aware of Defendants’ use of the METRO

                                                                                                                       CARS Mark, or variations thereof, on the website www.aaametrolimo.com.

                                                                                                                       Plaintiff sent Defendant AAA a cease and desist letter on December 9, 2023 by

                                                                                                                       email to aaametro@usa.com, attached here as Exhibit J.

                                                                                                                             22.   As of the date this Complaint was filed, Defendants continue to

                                                                                                                       market their services on the website https:/ www.aaametrolimo.com, which

                                                                                                                       prominently identifies “AAA METRO CAR” across the top and bottom in large,



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                                                                                                                       bold letters. The site lists the phone number (734) 644-5555. A copy of the home

                                                                                                                       page and screenshots from Defendant’s Website are attached as Exhibits K-Q.
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                                                                                                                       The website also states “If your responsibilities keep you on the road, AAA Metro

                                                                                                                       Cars’ Sedans/SUVs are both the luxury and affordable to travel with. Move with

                                                                                                                       AAA Metro Cars' black chauffeurs and make your day memorable” and “If you’ve

                                                                                                                       just stepped off a plane in Airport in Michigan, tired from a long flight, there can

                                                                                                                       be no better antidote to your ailments than a AAA Metro Car Service that make

                                                                                                                       your travel inexpensive and perfect.” Exhibit K.


                                                                                                                             23.    The website at https://www.aaametrolimo.com repeatedly uses the

                                                                                                                       METRO CARS Mark. Exhibits K-Q. For instance, the “About Us” section of

                                                                                                                       Defendant’s Website states “WELCOME TO AAA METRO CAR” in large, bold,

                                                                                                                       attention-getting lettering, while the homepage repeats the same phrase in smaller

                                                                                                                       lettering. Exhibits K-L.




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                                                                                                                       The “About Us” section of Defendant’s Website further states “AAA Metro Car

                                                                                                                       offers transportation service for airport and local town rides, where you're a group

                                                                                                                       of Friends visiting or a corporate group. AAA Metro Car professional staff will

                                                                                                                       take care of every detail, ensuring punctuality, safety, and reliability,” “What

                                                                                                                       methods of payment are accepted by AAA Metro Car?,” and “No, AAA Metro Car

                                                                                                                       Transportation is a smoke-free fleet.” Exhibit L.

                                                                                                                             24.    The “Services” section of Defendant’s Website states “In such a case,

                                                                                                                       AAA Metro Cars is the name you can trust!” and “Keeping this in mind, AAA

                                                                                                                       Metro Cars is offering top-notch transportation services at the best price in

                                                                                                                       Windsor MI, Detroit MI, Dearborn MI, Novi MI, Ann Arbor MI, West Bloomfield

                                                                                                                       Township MI, Troy MI, Rochester MI, Auburn Hills MI, Brighton MI. ” Exhibit

                                                                                                                       M. Reviews set forth in the “Reviews” section of the website state, “Your staff


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                                                                                                                       was great, and all of our guests arrive on time through AAA Metro Car” and

                                                                                                                       “Because of the success with my trip today I know there will be future bookings

                                                                                                                       with AAA Metro Car.” Exhibit N. The “Blog” section states “How to Rent an

                                                                                                                       Affordable Metro Car.” Exhibit O. The terms “metro car” and “metro cars” also

                                                                                                                       appear repeatedly through the source code for Defendant’s Website to ensure
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                                                                                                                       Defendant’s Website is retrieved when a potential purchaser searches for

                                                                                                                       Plaintiff’s METRO CARS Mark. Exhibit R.

                                                                                                                             25.    Defendant(s) have been previously and repeatedly advised of

                                                                                                                       Plaintiff’s federal trademark rights in the METRO CARS Mark, and METRO

                                                                                                                       CARS is well known, especially in the area where Defendants do business. As

                                                                                                                       such Defendants have received actual and constructive notice of Plaintiff’s rights

                                                                                                                       in the METRO CARS Mark.            Defendants are acting with full knowledge of

                                                                                                                       Plaintiff’s prior rights in the METRO CARS Mark and, despite this, are willfully

                                                                                                                       infringing Plaintiff’s METRO CARS Mark.

                                                                                                                             26.    It is likely that consumers will be confused by Defendants’ use of the

                                                                                                                       Defendant Marks. Defendants’ use of the Defendant Marks is the same and/or

                                                                                                                       similar to and conveys the same commercial impression as that of the METRO

                                                                                                                       CARS Mark, especially because the Defendant Marks are used by Defendants in

                                                                                                                       advertising and promoting chauffeur and other transportation services, which are

                                                                                                                       identical to Plaintiff Services.



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                                                                                                                             27.    The likelihood of confusion between the METRO CARS Mark and

                                                                                                                       the Defendant Marks will continue until Defendants cease all use of the Defendant

                                                                                                                       Marks and cease all sales and advertising of the Defendant Marks branded

                                                                                                                       services.   Defendants’ use of the Defendant Marks for chauffeur and other

                                                                                                                       transportation services constitutes willful and intentional infringement and unfair
DYKEMA GOSSETTA PROFESSIONAL LIMITED LIABILITY COMPANY2723 SOUTH STATE STREET, SUITE 400ANN ARBOR, MICHIGAN 48104




                                                                                                                       competition, and is harmful to Plaintiff.

                                                                                                                             28.    Defendants’ use of the Defendant Marks in connection with the

                                                                                                                       Defendant Services is likely to cause confusion as to the source and origin of the

                                                                                                                       Defendant Services and is likely to cause confusion, or to cause mistake, or to

                                                                                                                       deceive the public and the trade as to the source or sponsorship of the Defendant

                                                                                                                       Services and to falsely suggest a connection with Plaintiff, and mislead the public

                                                                                                                       into believing that the Defendant Services emanate from, are approved or

                                                                                                                       sponsored by, or are in some way associated or connected with Plaintiff.

                                                                                                                             29.    Defendants’ use of the Defendant Marks in their advertising in

                                                                                                                       connection with identical services falsely conveys that Plaintiff is affiliated with

                                                                                                                       Defendants or otherwise misrepresents the nature, characteristics, and qualities of

                                                                                                                       Defendant Services and commercial activities. The advertising and continued use

                                                                                                                       by Defendants of the Defendant Marks, upon information and belief, actually and

                                                                                                                       materially deceived or has the capacity to materially deceive a substantial segment

                                                                                                                       of the audience.



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                                                                                                                             30.    Current and prospective customers looking for Plaintiff Services

                                                                                                                       offered under the METRO CARS Mark and encountering the Defendant Marks are

                                                                                                                       likely to be confused or deceived as to the source of the services and sales could

                                                                                                                       thus be diverted to Defendants.

                                                                                                                             31.    Upon information and belief, Defendants’ adoption and use of the
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                                                                                                                       Defendant Marks represents a deliberate attempt to trade unlawfully upon the

                                                                                                                       goodwill associated with the METRO CARS Mark.

                                                                                                                             32.    Defendants’ wrongful acts have caused and are causing irreparable

                                                                                                                       injury and monetary damages to Plaintiff, and unless this Court restrains

                                                                                                                       Defendants from further commission of these acts, Plaintiff will suffer further

                                                                                                                       irreparable injury for which Plaintiff has no adequate remedy at law.

                                                                                                                                          COUNT I — TRADEMARK INFRINGEMENT
                                                                                                                                                  UNDER 15 U.S.C. § 1114

                                                                                                                             33.    Plaintiff repeats and realleges each and every allegation set forth in

                                                                                                                       the preceding paragraphs as if fully set forth herein.

                                                                                                                             34.    Defendants’ use of the METRO CARS Mark is likely to cause, and

                                                                                                                       has actually caused confusion, mistake, or deception as to:

                                                                                                                                    (a) Defendants’ affiliation, connection, or association with
                                                                                                                                    Plaintiff; and/or

                                                                                                                                    (b) the origin, sponsorship, or approval of Defendant Services or
                                                                                                                                    commercial activities by Plaintiff.

                                                                                                                             35.    Defendants’ activities as described above constitute infringement of


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                                                                                                                       the METRO CARS Mark in violation of Section 32(1) of the Lanham Act of 1946,

                                                                                                                       as amended (15 U.S.C. § 1114(1)).

                                                                                                                                 36.   Upon information and belief, Defendants adopted and first used

                                                                                                                       colorable imitations of, and designations substantially identical to, Plaintiff’s

                                                                                                                       METRO CARS Mark with full knowledge of Plaintiff’s ownership and rights of
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                                                                                                                       the METRO CARS Mark. Therefore, Defendants have willfully infringed such

                                                                                                                       rights.

                                                                                                                                 37.   Upon information and belief, Defendants have made and will continue

                                                                                                                       to make substantial profits and gains that they are not entitled to in law or equity.

                                                                                                                                 38.   Upon information and belief, Defendants intend to continue their

                                                                                                                       willful infringing acts, unless restrained by this Court.

                                                                                                                                 39.   Plaintiff has been damaged by Defendants’ use of the above

                                                                                                                       designations and is likely to be further damaged by Defendants’ continued use of

                                                                                                                       these designations, and Plaintiff has no adequate remedy at law.

                                                                                                                           COUNT II — UNFAIR COMPETITION, FALSE DESIGNATION OF
                                                                                                                           ORIGIN AND FALSE ADVERTISING UNDER 15 U.S.C. §1125(A)(1)


                                                                                                                                 40.   Plaintiff repeats and realleges each and every allegation set forth in

                                                                                                                       the preceding paragraphs as if fully set forth herein.

                                                                                                                                 41.   Defendants’ promotion, advertising, distribution, sale, and/or offering

                                                                                                                       for sale of the Defendant Services are likely to confuse, mislead, or deceive



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                                                                                                                       consumers, the public, and the trade as to the origin, source, sponsorship, or

                                                                                                                       affiliation of the Defendant Services, and are intended, and are likely to cause,

                                                                                                                       such parties to believe in error that the Defendant Services have been authorized,

                                                                                                                       sponsored, approved, endorsed, or licensed by Plaintiff or that Defendants are in

                                                                                                                       some way affiliated with Plaintiff.
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                                                                                                                              42.    In addition, Defendants’ use of the above designations misrepresents

                                                                                                                       the nature, characteristics, and/or qualities of Defendant Services and commercial

                                                                                                                       activities.

                                                                                                                              43.    Thus, Defendants’ activities as described above constitute unfair

                                                                                                                       competition, the use of false designations of origin in commerce, and false and

                                                                                                                       misleading descriptions and representations of fact, all in violation of Section 43(a)

                                                                                                                       of the Lanham Act of 1946, as amended (15 U.S.C. § 1125(a)).

                                                                                                                              44.    Upon information and belief, Defendants have made and will continue

                                                                                                                       to make substantial profits and gains that it is not entitled to in law or equity.

                                                                                                                              45.    Upon information and belief, Defendants intend to continue their

                                                                                                                       infringing acts, unless restrained by this Court.

                                                                                                                              46.    Plaintiff has been damaged by Defendants’ use of the above

                                                                                                                       designations and is likely to be further damaged by Defendants’ continued use of

                                                                                                                       the designations, and Plaintiff has no adequate remedy at law. In particular,




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                                                                                                                       Defendants’ use of the designation is likely to cause the METRO CARS Mark to

                                                                                                                       lose its significance as an indicator of origin.

                                                                                                                                           COUNT III — TRADEMARK DILUTION
                                                                                                                                                UNDER 15 U.S.C. § 1125(c)

                                                                                                                             47.    Plaintiff repeats and realleges each and every allegation set forth in

                                                                                                                       the preceding paragraphs as if fully set forth herein.
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                                                                                                                             48.    Defendants’ use of the METRO CARS Mark dilutes the distinctive

                                                                                                                       quality of the METRO CARS Mark in violation of 15 U.S.C. § 1125(c) because,

                                                                                                                       upon information and belief, the chauffeur and other transportation services

                                                                                                                       provided by Defendants are inferior in quality to Plaintiff Services.

                                                                                                                             49.    Upon information and belief, Defendants willfully intended to trade

                                                                                                                       on the reputation of Plaintiff or to cause dilution of the METRO CARS Mark.

                                                                                                                       Upon information and belief, Defendants have made and will continue to make

                                                                                                                       substantial profits and gains that it is not entitled to in law or equity.

                                                                                                                             50.    Upon information and belief, Defendants intend to continue its

                                                                                                                       infringing acts, unless restrained by this Court.

                                                                                                                             51.    Defendants’ acts have damaged and will continue to damage Plaintiff,

                                                                                                                       and Plaintiff has no adequate remedy at law.

                                                                                                                              COUNT IV — MICHIGAN DECEPTIVE TRADE PRACTICES
                                                                                                                                  UNDER MICH. COMP. STAT. § 445.901 ET SEQ.


                                                                                                                             52.    Plaintiff repeats and realleges each and every allegation set forth in


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                                                                                                                       the preceding paragraphs as if fully set forth herein.

                                                                                                                             53.    Defendants, through their above-described conduct, have engaged in

                                                                                                                       unlawful and unfair business practices within the meaning of the Michigan

                                                                                                                       Consumer Protection Act, M.C.L.A. § 445.901 et seq. by causing a probability of

                                                                                                                       confusion or misunderstanding as to the source, sponsorship, approval or
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                                                                                                                       certification of Defendants’ Services, where there is a high probability consumers

                                                                                                                       will believe Defendant Services are provided by, sponsored by, endorsed by, or

                                                                                                                       approved by, Plaintiff.

                                                                                                                             54.    On information and belief, Defendants’ conduct is calculated to

                                                                                                                       increase business and profits by confusing members of the public, thereby allowing

                                                                                                                       Defendants to misappropriate the valuable goodwill of the METRO CARS Mark

                                                                                                                       and unfairly compete with Plaintiff under the laws of Michigan.

                                                                                                                             55.    Plaintiff has suffered and will continue to suffer actual damages

                                                                                                                       unless Defendants’ conduct is enjoined. Defendant’s conduct in violation of MCL

                                                                                                                       445.903(1) entitles Plaintiff to its reasonable attorney’s fees pursuant to MCL

                                                                                                                       445.911. In addition, because Defendants’ actions, on information and belief, were

                                                                                                                       carried out intentionally, willfully and/or deliberately in violation of Plaintiff’s

                                                                                                                       rights, an award of exemplary and/or punitive damages is justified.

                                                                                                                                   COUNT V — COMMON LAW UNFAIR COMPETITION




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                                                                                                                             56.    Plaintiff repeats and realleges each and every allegation set forth in

                                                                                                                       the preceding paragraphs as if fully set forth herein.

                                                                                                                             57.    Plaintiff and Defendants are competitors, offering the same services,

                                                                                                                       i.e., car and limousine services.

                                                                                                                             58.    Defendants’ actions as set forth herein are designed to unfairly
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                                                                                                                       compete with Plaintiff and constitute unfair competition under the common law of

                                                                                                                       the state of Michigan.

                                                                                                                             59.    Upon information and belief, Defendants have made and will continue

                                                                                                                       to make substantial profits and gains that they are not entitled to in law or equity.

                                                                                                                             60.    Upon information and belief, Defendants intend to continue their

                                                                                                                       infringing acts, unless restrained by this Court.

                                                                                                                             61.    Defendants’ acts have damaged and will continue to damage Plaintiff,

                                                                                                                       and Plaintiff has no adequate remedy at law.

                                                                                                                                            COUNT VI- UNJUST ENRICHMENT


                                                                                                                             62.    Plaintiff repeats and realleges each of the allegations set forth in the

                                                                                                                       preceding paragraphs as if fully set forth herein.

                                                                                                                             63.    Benefits have been conferred upon Defendants by Defendants’

                                                                                                                       unauthorized use of the METRO CARS Mark. Defendants have received a benefit

                                                                                                                       by avoiding the labor and expense of independently developing a source

                                                                                                                       designating mark and the goodwill associated therewith.


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                                                                                                                             64.    Defendants have appreciated, accepted, and retained these benefits.

                                                                                                                             65.    Upon information and belief, Defendants have further benefited by

                                                                                                                       selling services they would not otherwise have been able to sell. It is inequitable

                                                                                                                       for Defendants to retain these benefits without the payment of value to Plaintiff.

                                                                                                                             66.    Defendants have been unjustly enriched at the expense of Plaintiff.
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                                                                                                                             67.    Defendants activities as described above constitute unjust enrichment

                                                                                                                       under the common law of the State of Michigan.

                                                                                                                                                    RELIEF REQUESTED


                                                                                                                             WHEREFORE, Plaintiff prays that this Court enters judgment in its favor

                                                                                                                       against Defendants as follows:

                                                                                                                             A.     That Plaintiff’s rights in and to the METRO CARS Mark are valid,

                                                                                                                       enforceable and have been infringed by Defendants.

                                                                                                                             B.     That Defendants have willfully infringed Plaintiff’s rights.

                                                                                                                             C.     That Defendants, their agents, servants, employees and all persons in

                                                                                                                       active concert or participation with them, be preliminarily and permanently

                                                                                                                       enjoined and restrained from:

                                                                                                                                    (1)   using Plaintiff’s METRO CARS Mark or colorable

                                                                                                                             imitations thereof and other designs, designations and indicia which

                                                                                                                             are likely to cause confusion, mistake or deception with respect to

                                                                                                                             Plaintiff’s rights, including but not limited to any name containing the


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                                                                                                                            words “Metro” and “Car” or “Cars” or “Limo” or “Limos” in close

                                                                                                                            proximity;

                                                                                                                                   (2)    advertising under Plaintiff’s METRO CARS Mark,

                                                                                                                            colorable imitations of Plaintiff’s METRO CARS Mark, including in

                                                                                                                            the source code for any websites, or other designs, designations and
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                                                                                                                            indicia which are likely to cause confusion, mistake or deception with

                                                                                                                            respect to Plaintiff’s rights;

                                                                                                                                   (3)    operating any domain name containing the word “Metro”

                                                                                                                            and “Car” or “Cars” or “Limo” or “Limos” in close proximity or any

                                                                                                                            variations thereof which are likely to cause confusion, mistake or

                                                                                                                            deception with respect to Plaintiff’s rights;

                                                                                                                                   (4)    using the designation “Metro Cars” or “Metro Car” or

                                                                                                                            “Metro Limos” or “Metro Limos” or any variations thereof within

                                                                                                                            meta-tags for, or as html/source codes for, Defendants’ websites, or

                                                                                                                            buying key words for advertising online containing “Metro Car(s)”;

                                                                                                                                   (5)    using the designation “Metro Cars” or “Metro Car” or

                                                                                                                            “Metro Limos” or “Metro Limos” or any variations thereof on

                                                                                                                            Defendants’ social media pages; and

                                                                                                                                   (6)    otherwise infringing Plaintiff’s rights in METRO CARS

                                                                                                                            Mark and competing unfairly with Plaintiff.



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                                                                                                                              D.     Pursuant to 15 U.S.C. § 1118, that Defendants deliver to Plaintiff for

                                                                                                                       destruction all infringing articles (including, without limitation, all labels,

                                                                                                                       advertisements, promotional materials, and brochures) within its possession,

                                                                                                                       custody, or control and immediately discontinue use of the infringing websites that

                                                                                                                       bear the Defendant Marks or any other designation, symbol, or device that is
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                                                                                                                       confusingly similar to the METRO Cars Mark.

                                                                                                                              E.     Pursuant to 15 U.S.C. § 1117(a), MCL 445.911, and the common law,

                                                                                                                       that Defendant be directed to account to Plaintiff for all gains, profits, and

                                                                                                                       advantages derived from Defendants’ wrongful acts.

                                                                                                                              F.     Pursuant to 15 U.S.C. § 1117(a), that Plaintiff recovers from

                                                                                                                       Defendants the greater of three times the amount of Defendants’ profits or any

                                                                                                                       damages sustained by Plaintiff, together with interest on such amount and the costs

                                                                                                                       of this action.

                                                                                                                              G.     Pursuant to MCL 445.911, that Plaintiff recovers from Defendants

                                                                                                                       exemplary and/or punitive damages.

                                                                                                                              H.     Pursuant to 15 U.S.C. § 1117(a), that the Court determine that the case

                                                                                                                       is exceptional and that Plaintiff recovers from Defendants its attorneys’ fees and

                                                                                                                       the costs of this civil action.

                                                                                                                              I.     Pursuant to MCL 445.911, that Plaintiff recovers from Defendants its

                                                                                                                       attorneys’ fees and the costs of this civil action.



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                                                                                                                             J.      That Defendants are directed to file, with this Court, and serve on

                                                                                                                       Plaintiff within thirty (30) days after the service of any temporary restraining order,

                                                                                                                       and/or preliminary or permanent injunction a written report under oath setting forth

                                                                                                                       in detail the manner and form, in which, Defendants have complied with the

                                                                                                                       injunction.
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                                                                                                                             K.      That Plaintiff is granted such other and further relief as this Court may

                                                                                                                       deem appropriate.

                                                                                                                                                 DEMAND FOR JURY TRIAL

                                                                                                                             Plaintiff hereby demands a jury trial for all issues so triable.

                                                                                                                                                                      Respectfully submitted,

                                                                                                                       Date: May 3, 2024                              DYKEMA GOSSETT PLLC


                                                                                                                                                                 By: /s/ Paul T. Stewart
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                                                                                                                                                                 23
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                                                                                                                                                  INDEX OF EXHIBITS

                                                                                                                             A.   U.S. Trademark registration number 1,908,853.

                                                                                                                             B.   U.S. Trademark registration number 4,009,524.

                                                                                                                             C.   U.S. Trademark registration number 3,261,698.

                                                                                                                             D.   Trademark assignment abstract for U.S. Trademark registration
                                                                                                                                  number 1,908,853.
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                                                                                                                             E.   Trademark assignment abstract for U.S. Trademark registration
                                                                                                                                  number 4,009,524.

                                                                                                                             F.   Trademark assignment abstract for U.S. Trademark registration
                                                                                                                                  number 3,261,698.

                                                                                                                             G.   Homepage of www.metrocars.com.

                                                                                                                             H.   Homepage of www.aaametrocars.net.

                                                                                                                             I.   January 24, 2023 Cease and Desist Letter.

                                                                                                                             J.   December 9, 2023 Cease and Desist Letter.

                                                                                                                             K.   Homepage of www.aaametrolimo.com.

                                                                                                                             L.   “About Us” Section of www.aaametrolimo.com.

                                                                                                                             M.   “Services” “About Us” Section of www.aaametrolimo.com.

                                                                                                                             N.   “Review” Section of www.aaametrolimo.com.

                                                                                                                             O.   “Blog” Section of www.aaametrolimo.com.

                                                                                                                             P.   “Book Now” Section of www.aaametrolimo.com.

                                                                                                                             Q.   “Contact Us” Section of www.aaametrolimo.com.

                                                                                                                             R.   Source Code from Homepage of www.aaametrolimo.com.
